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                                                        8 CISCO SYSTEMS, INC.
                                                        9                      UNITED STATES DISTRICT COURT
                                                                              CENTRAL DISTRICT OF CALIFORNIA
                                                       10
                                                       11 In Re: Motion to Compel Compliance         Case No. _________________
777 S FIGUEROA ST, STE 3850




                                                          with Subpoena Directed to Nonparties
                                                       12 iPEL, Inc. and Brian Yates                 [DISCOVERY MATTER]
                              LOS ANGELES, CA 90017




                                                       13 Underlying Matter                          CISCO SYSTEMS, INC.’S
                                                                                                     APPLICATION FOR LEAVE TO
                                                       14 K. MIZRA, LLC,                             FILE UNDER SEAL DOCUMENTS
                                                                                                     IN SUPPORT MOTION TO
                                                       15                     Plaintiff,             COMPEL SUBPOENA RESPONSES
                                                       16             v.                             Date:           [TBD]
                                                                                                     Time:           [TBD]
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                                                       17 CISCO SYSTEMS, INC.                        Location:       [TBD]
                                                                                                     Judge:          [TBD]
                                                       18                     Defendant.
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                                                                CISCO SYSTEMS, INC.’S APPLICATION FOR LEAVE TO FILE DOCUMENTS UNDER SEAL
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                                                        1        Pursuant to Central District of California Civil Local Rule 79-5.2.2(b) Cisco
                                                        2 Systems, Inc. (“Cisco”) respectfully submits this application to file under seal certain
                                                        3 exhibits in support of its concurrently filed Motion to Compel Subpoena Responses.
                                                        4 Specifically, Cisco seeks an order authorizing it to file under seal the following
                                                        5 documents:
                                                        6        1.     The entirety of Exhibits A and B to the Declaration of Elizabeth
                                                        7 Brannen in Support of Cisco Systems, Inc.’s Motion to Compel Subpoena Responses.
                                                        8        2.     Portions of Exhibits C, D, F, G, H, and K to the Declaration of
                                                        9 Elizabeth Brannen in Support of Cisco Systems, Inc.’s Motion to Compel Subpoena
                                                       10 Responses that quote from and/or describes information contained in Exhibit A and
                                                       11 B.
777 S FIGUEROA ST, STE 3850




                                                       12        This Application is made after conferring by electronic mail pursuant to L.R.
                              LOS ANGELES, CA 90017




                                                       13 79-5.2.2(b) with counsel for K.Mizra, LLC (“K.Mizra”), the party that designated as
                                                       14 “Highly Confidential – Attorneys’ Eyes Only” the materials to be filed under seal, on
                                                       15 March 29, 2023. See Declaration of Elizabeth Brannen in Support of Application for
                                                       16 Leave to File Under Seal (“Brannen Decl.”) ¶ 12.
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                                                       17        Exhibit A is a License Agreement, and Exhibit B are exhibits thereto. Both
                                                       18 Exhibits A and B are marked, “Highly Confidential – Attorneys’ Eyes Only.” See
                                                       19 Brannen Decl. ¶¶ 3, 4. K.Mizra contends the Exhibits A and B contain information
                                                       20 extremely sensitive to thirty parties and reflect a license agreement and financial
                                                       21 information that are “Highly Confidential – Attorneys’ Eyes Only” as defined in the
                                                       22 Protective Order issued in K.Mizra LLC v. Cisco Systems, Inc., No. 6:20-CV-01031
                                                       23 (W. D. Tex. September 9, 2021), ECF No. 41. See id. ¶ 12.
                                                       24        “A party seeking to seal a judicial record then bears the burden of overcoming
                                                       25 this strong presumption by meeting the ‘compelling reasons’ standard.” Kamakana
                                                       26 v. City & Cty. of Honolulu, 447 F.3d 1172, 1178 (9th Cir. 2006). “In general,
                                                       27 ‘compelling reasons’ sufficient to outweigh the public’s interest in disclosure and
                                                       28 justify sealing court records exist when such ‘court files might have become a vehicle
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                                                                  CISCO SYSTEMS, INC.’S APPLICATION FOR LEAVE TO FILE DOCUMENTS UNDER SEAL
                                                      Case 2:23-mc-00041-MEMF-JC      Document 2      Filed 04/03/23   Page 3 of 3 Page ID
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                                                        1 for improper purposes.’” Id. at 1179.
                                                        2        Courts have held that compelling reasons exists to seal sensitive business and
                                                        3 financial information, as Exhibits A and B reveal, because such information can
                                                        4 become a vehicle for improper purposes and “cause competitive harm to a business.”
                                                        5 Apple Inc. v. Samsung Elecs. Co., 727 F.3d 1214, 1221 (Fed. Cir. 2013) (internal
                                                        6 quotation marks and citations omitted).
                                                        7        Accordingly, Cisco respectfully requests that the Court grant the application
                                                        8 for leave to file the foregoing documents under seal.
                                                        9
                                                       10   Dated: March 31, 2023                     Respectfully submitted,

                                                       11                                             By: /s/ Elizabeth R. Brannen
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                                                                 CISCO SYSTEMS, INC.’S APPLICATION FOR LEAVE TO FILE DOCUMENTS UNDER SEAL
